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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               SOUTHERN DIVISION
                                    (at London)


UNITED STATES OF AMERICA,                       )
                                                )
         Plaintiff,                             )      Criminal Action No. 6: 06-21-DCR
                                                )
V.                                              )
                                                )               AMENDED
PATRICK D. WILLARD,                             )          MEMORANDUM OPINION
                                                )              AND ORDER
         Defendant.                             )
                                                )

                                 ****    ****       ****   ****

        Defendant Patrick Willard1 is currently serving a term of imprisonment of 327 months

following his conviction for conspiring to distribute, and possessing with intent to distribute

crack cocaine, in violation of 21 U.S.C. § 846. [Record Nos. 130, 166] On October 19,

2015, Wheeler filed a pleading captioned, “Motion Explaining Why the Amendment 782

Applies in Spite of the Sentence as a Career Offender in Support of Motion for Reduction of

Sentence Pursuant to 18 U.S.C. § 3582(c)(2) Based on Amendment 782.” [Record No. 181]

In essence, Willard asserts that, while his guideline range was enhanced as a result of his

status as a Career Offender, he is nonetheless entitled to a sentence reduction under the

recent amendments to the United States Sentencing Guidelines.




1
  This Amended Memorandum Opinion and Order corrects a misspelling of Defendant’s name
contained in Memorandum Opinion and Order filed October 19, 2015 [Record No. 182].

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         Although the defendant cites two unreported district court cases in support of his

position, Willard’s argument is incorrect. His motion will be denied because Willard’s

guideline range is unaffected by the recent amendments.

         Title 18 of the United States Code, § 3582(c), prohibits the Court from modifying a

term of imprisonment once it has been imposed except under very limited circumstances,

none of which are applicable here. Section 3582(c)(2) only gives the Court authority to

reduce a sentence of a defendant “who has been sentenced to a term of imprisonment based

on a sentencing range that has subsequently been lowered by the Sentencing Commission,”

as long as the reduction is consistent with the applicable policy statements issued by the

Commission. The recent amendments reduce the base offense level within the drug quantity

table found in U.S.S.G. § 2D1.1(c).

         However, Willard was sentenced as a Career Offender under U.S.S.G. § 4B1.1. His

guideline range was not based on the drug quantity table and, therefore, the recent

amendments do not apply to his sentence. See, e.g., United States v. Wherry, 518 F. App’x

434, 437–38 (6th Cir. 2013) (rejecting the argument that Amendment 750 applies to career

offenders). Thus, his non-binding guideline range remains unchanged and 18 U.S.C. §

3582(c) is inapplicable. Furthermore, even if Willard were eligible for a reduction, it would

not be warranted in light of the sentencing goals of 18 U.S.C. § 3553(a). Accordingly, it is

hereby

         ORDERED that Defendant Patrick Willard’s motion, which the Court construes as a

motion for a reduced sentence under 18 U.S.C. § 3582(c)(2) [Record No. 181], is DENIED.




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    This 20th day of October, 2015.




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